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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISON

JAMES R. DRIGGERS,

      Plaintiff,

vs.                                                         1:19-cv-00850-JB-B

CALIBER HOME LOANS, INC.,
FAY SERVICING, LLC, and
CITIBANK N.A. AS TRUSTEE FOR
CMLTI ASSET TRUST,

      Defendants.


                         Answer of Defendant, Citibank

      COMES NOW, Defendant Citibank N.A., as Trustee for CMLTI Asset Trust

(“Citibank”), to state the following Answer to the Amended Complaint filed by the

Plaintiff, James R. Driggers (“Driggers”) on December 9, 2019 [doc. 20]:

      1-5. Citibank admits the averments of paragraphs 1 through 5 of the

Amended Complaint.

      6.     Citibank is without sufficient information to admit or deny the veracity

of paragraph 6. Accordingly, this paragraph is denied and strict proof demanded.

      7.     Citibank admits the averments of paragraphs 7 of the Amended

Complaint.




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      8-55. Citibank is without sufficient information to admit or deny the veracity

of paragraphs 8 through 55. Accordingly, these paragraphs are denied and strict

proof demanded.

      56.    Citibank admits the averments of paragraph 56 of the Amended

Complaint.

      57-58.        Fay denies the averments of paragraphs 57 and 58 and demands

strict proof thereof.

      59.    Citibank admits that Fay is a mortgage loan servicer. Otherwise the

averments of paragraph 59 are denied, and strict proof demanded.

      60.    Citibank admits the averments of paragraph 60 of the Amended

Complaint.

      61-123.       Citibank denies the averments of paragraphs 61 through 123,

including the suggestion that Driggers is entitled to any relief whatsoever, and

demands strict proof thereof.

                            First Affirmative Defense

      Driggers has failed to state a claim upon which relief can be granted.

                           Second Affirmative Defense

      Driggers alleged harm was not proximately caused by Citibank and may have

been caused by other parties.




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                              Third Affirmative Defense

      Driggers has failed to mitigate his damages.

                              Fourth Affirmative Defense

      Driggers claims are barred by the Statute of Frauds.

                              Fifth Affirmative Defense

      Driggers claims are barred by the Statute of Limitations.

                              Sixth Affirmative Defense

      Driggers claims are barred by the defenses of laches, acquiescence,

ratification, repose, res judicata, set-off, payment, illegality, fraud, parol evidence,

payment, estoppel, judicial estoppel, waiver, accord and satisfaction, contributory

negligence, discharge in bankruptcy, and unclean hands.

                           Seventh Affirmative Defense

      Driggers lacks standing.

                              Eight Affirmative Defense

      Driggers has fully performed all obligations under any contract, or beneficial

interest, owed to Driggers.

                              Ninth Affirmative Defense

      Driggers has failed to fully perform his obligations under any contract, or

beneficial interest, owed to Citibank.




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                            Tenth Affirmative Defense

      Any award of punitive damages to Driggers would be in violation of

Citibank’s rights under the Alabama and United States Constitutions.

                          Eleventh Affirmative Defense

      Citibank is not a “debt collector,” as that term is defined by statute.

                           Twelfth Affirmative Defense

      Driggers communications are not sufficient to trigger any obligation under

RESPA or the FDCPA.

      Respectfully submitted on March 26, 2020.

                                              _s/ Timothy P. Pittman________
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                       CERTIFICATE OF SERVICE

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                                         _s/ Timothy P. Pittman________
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